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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KEVIN CUNNINGHAM,                                    )
                                                     )
                              Plaintiff,             )
                                                     )       Case No. 21-CV-05368
               v.                                    )
                                                     )       Hon. Virginia M. Kendall
ROUNDY’S ILLINOIS, LLC,                              )
d/b/a MARIANO’S,                                     )
                                                     )
                              Defendant.             )

                    DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS

       Defendant, Roundy’s Illinois LLC d/b/a Mariano’s (“Defendant,” or “Mariano’s”), by and

through its undersigned counsel, respectfully moves, under Rule 12(b)(6), to dismiss this action,

with prejudice. Plaintiff opposes this motion.

                                  I. PRELIMINARY STATEMENT

       Plaintiff, Kevin Cunningham (“Cunningham,” or “Plaintiff”), asserts claims against

Mariano’s for allegedly unpaid overtime under the Fair Labor Standards Act (the “FLSA,” 29

U.S.C. § 201, et seq.) and the Illinois Minimum Wage Law (the “IMWL,” 820 ILCS 105/1, et

seq.). (Dkt. 36).

       Plaintiff’s claims in this action (the “Cunningham” matter) were severed from the claims

of the twenty-two (22) other plaintiffs who were originally parties in this case. (Dkt. 1; Dkt. 29).

Before filing their joint action here, Mr. Cunningham and those twenty-two (22) other plaintiffs

had been parties to, and dismissed from, a decertified FLSA collective action, Haugen, et al. v.

Roundy’s Illinois, LLC d/b/a Mariano’s, Case No. 18-cv-7297 (N.D. Ill.).

       When Judge Bucklo dismissed Mr. Cunningham from the Haugen matter (after almost

three years of litigation), she gave him sixty (60) days to refile his action. Mr. Cunningham,



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however, failed to comply with that deadline. Under binding Seventh Circuit precedent, when he

failed to file a new action by that deadline, Judge Bucklo’s “without-prejudice” dismissal of Mr.

Cunningham ripened into a “dismissal with prejudice.” Accordingly, Plaintiff is barred from

reasserting his claims here.

        Moreover, if his action had not been dismissed with prejudice, Judge Bucklo’s “without-

prejudice” dismissal of Mr. Cunningham from Haugen would have retroactively wiped away any

tolling that had accrued in Haugen. Because a portion of Plaintiff’s claims accrued more than

three years before he filed this action, those claims are time-barred and should be dismissed, with

prejudice, under Rule 12(b)(6).

                                       II. LEGAL STANDARD

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of a complaint “to state

a claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although a court must accept as true all well-

pleaded allegations in a complaint, it need not accept legal conclusions as true. Id. Similarly,

“threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Id.

        “A complainant can plead himself out of court by including factual allegations that

establish that the plaintiff is not entitled to relief as a matter of law.” O’Gorman v. City of Chicago,

777 F.3d 885, 889 (7th Cir. 2015). Thus, “if a plaintiff alleges facts sufficient to establish a statute

of limitations defense, the district court may dismiss the complaint on that ground.” Id. Similarly,

“when a defendant raises res judicata as a defense and it is clear from the complaint’s face, and




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matters of which the district court may take judicial notice, that the plaintiff’s claims are barred as

a matter of law, dismissal under Rule 12(b)(6) is proper.” Clark & Leland Condo., L.L.C. v.

Northside Cmty. Bank, 110 F. Supp. 3d 866, 868–69 (N.D. Ill. 2015) (cleaned up).1

       Between the facts alleged in his Amended Complaint and the procedural history of his prior

litigation, Plaintiff has pleaded himself out of court.

                         III. FACTUAL AND PROCEDURAL BACKGROUND

       On November 1, 2018, James Haugen sued Mariano’s for alleged violations of the FLSA

(and ancillary state laws and local wage ordinances), on his own behalf and on behalf of other

similarly situated People Service Managers (“PSMs,” which are store-level human resources

managers employed at each Mariano’s store location). See Haugen, et al. v. Roundy’s Illinois,

LLC d/b/a Mariano’s, Case No. 18-cv-7297 (N.D. Ill.), Dkt. 1. Mr. Haugen alleged that Mariano’s

misclassified him and other PSMs as “exempt,” and consequently violated the FLSA by failing to

pay “time-and-a-half” for overtime hours worked. Id. at ¶ 5. Mr. Haugen framed his lawsuit as a

putative collective FLSA action under 29 U.S.C. § 216(b) and sought to serve as the lead plaintiff.2

       After “Phase I” discovery, Judge Bucklo granted conditional certification of Haugen as a

collective action. Haugen, Dkt. 51. Twenty-eight (28) plaintiffs eventually opted in, including



1
  It is proper for this Court to take judicial notice of dates on which certain actions were taken or
required to be taken in earlier litigation. Ennenga v. Starns, 677 F.3d 766, 773–74 (7th Cir. 2012)
(“Taking judicial notice of matters of public record need not convert a motion to dismiss into a
motion for summary judgment.”).
2
  By way of background, courts typically employ a two-part test to determine whether employees
are “similarly situated” such that an FLSA action may proceed on a collective basis. “At the first
stage, a named plaintiff ‘can show that the potential claimants are similarly situated by making a
modest factual showing sufficient to demonstrate that they and potential plaintiffs together were
victims of a common policy or plan that violated the law.’” Camilotes v. Resurrection Health
Care Corp., 286 F.R.D. 339, 345 (N.D. Ill. 2012) (quoting Franks v. MKM Oil, Inc., No. 10 CV
00013, 2012 WL 3903782, at *9 (N.D. Ill. Sept. 7, 2012)). “At the second stage, however, the
court’s inquiry becomes more stringent.” Id.


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Mr. Cunningham, who opted in on February 21, 2020, and became a full party-plaintiff to the

Haugen case. Haugen, Dkt. 59. In that case, as here, Mr. Cunningham alleged that Mariano’s

violated the FLSA and the IMWL. Haugen, Dkt. 38.

       The parties began conducting “Phase II” discovery to determine whether there was

sufficient similarity among the plaintiffs to allow the matter to proceed collectively on the merits.

During Phase II, the parties took extensive discovery that included document requests,

interrogatories, and more than a dozen (12) depositions. At the conclusion of Phase II discovery,

Mariano’s moved to decertify the conditionally-certified collective action (on the basis that the

plaintiffs were not “similarly situated” to one another), and to dismiss Mr. Cunningham and the

rest of the plaintiffs who had opted into the putative collective action. Haugen, Dkt. 109.

       After examining the parties’ extensive briefing and the evidence gathered in discovery,

Judge Bucklo ruled that the plaintiffs were not similarly situated to each other under Section 216(b)

of the FLSA. On that basis, she granted Mariano’s motion to decertify the putative collective

action and dismissed the opt-in plaintiffs, including Mr. Cunningham. Haugen v. Roundy’s

Illinois, LLC, 552 F. Supp. 3d 806, 811 (N.D. Ill. 2021).

       Twenty-five (25) days later, Mr. Cunningham (along with his dismissed co-plaintiffs)

sought “clarification” from Judge Bucklo to address whether he was granted leave to refile his

claims. Haugen, Dkt. 126. The dismissed plaintiffs took the position that the opt-in claims would

be dismissed “without prejudice with leave to refile on an individual basis.” Id. at ¶ 3. In response,

Mariano’s agreed that the opt-in claimants “should be dismissed without prejudice,” and that each

of the plaintiffs should file “individual lawsuits.” Haugen, Dkt. 128 at pp. 1-2. On September 13,

2021, Judge Bucklo provided the requested clarification, and entered an order allowing the




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dismissed plaintiffs – including Mr. Cunningham – to each file an individual lawsuit no later than

October 4, 2021:

               The motion for clarification is granted to make clear that the August
               5, 2021 order dismissed the opt-in plaintiffs without prejudice. The
               motion to toll the statute of limitations for dismissed opt-in plaintiffs
               is granted. Dismissed opt-in plaintiffs may re-file their claims
               dismissed by this court on an individual basis on or before October
               4, 2021 (60 days following the court’s August 5, 2021 order).

Haugen, Dkt. 131 (emphasis added).

       The October 4, 2021, refiling deadline came and went without Mr. Cunningham or any of

the other dismissed plaintiffs refiling their claims, or moving for an extension of Judge Bucklo’s

deadline. Accordingly (as explained further below), this caused the “without-prejudice” dismissal

to ripen into a “dismissal with prejudice.” Nevertheless, on October 8, 2021 – four days after the

refiling deadline had expired, rendering Judge Bucklo’s August 5, 2021, order a “dismissal with

prejudice” – twenty-three (23) of the dismissed plaintiffs, including Mr. Cunningham, collectively

refiled their claims in a single lawsuit here, before Your Honor. (Dkt. 1).

       Mr. Cunningham and the rest of the Cunningham plaintiffs had ignored Judge Bucklo’s

rulings, and had improperly refiled their disparate claims in a single action, hoping that a different

judge would allow their actions to proceed as a de facto collective action. Accordingly, before

this case had reached the pleadings stage, Mariano’s moved to sever the disparate claims of each

PSM plaintiff into separate actions. (Dkt. 11 & Dkt. 12). On July 6, 2022, the Court granted

Mariano’s motion, and severed each plaintiff. (Dkt. 29). The Court required each plaintiff, aside

from Mr. Cunningham, to refile his or her severed claims in a separate action by August 5, 2022.

(Dkt. 30).




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        On August 17, 2022, Mr. Cunningham filed his First Amended Complaint, which removed

all the allegations concerning the plaintiffs who had been severed. (Dkt. 36). Mr. Cunningham

asserts here exactly the same claims Judge Bucklo dismissed (ultimately, with prejudice) in

Haugen: alleged violations of the FLSA (29 U.S.C. § 201, et seq.) and the IMWL (820 ILCS 105/1,

et seq.). (Id.).

                                          IV. ARGUMENT

        Plaintiff’s claims were already dismissed with prejudice, so Plaintiff is barred from

reasserting his claims in this action. Even if Plaintiff’s action had not already been dismissed with

prejudice by Judge Bucklo, a portion of his claims would be time-barred. Either way, the Court

should dismiss Plaintiff’s claims “with prejudice” (again).

            A. PLAINTIFF’S ACTION IS BARRED BECAUSE IT WAS ALREADY
               DISMISSED “WITH PREJUDICE.”

        Judge Bucklo already dismissed Mr. Cunningham’s claims with prejudice, so he is barred

from asserting those claims again here.

        As explained above, on February 21, 2020, Mr. Cunningham opted into the Haugen

collective action, asserting FLSA and state law unpaid overtime claims against Mariano’s.

Haugen, Dkt. 59. Once he opted into the Haugen action, Mr. Cunningham became a full party-

plaintiff for all purposes. See 29 U.S.C. § 216(b) (employees who file consents become party

plaintiffs); O’Toole v. Sears Roebuck & Co., 2014 WL 1388660, at *2 (N.D. Ill. Apr. 10, 2014)

(“[U]nlike class members in a Rule 23 class action, opt-in plaintiffs in a collective action have

affirmatively decided to become plaintiffs and thus are full parties.”). On March 11, 2021,

Mariano’s moved in Haugen to decertify the conditionally-certified collective action and, in doing

so, requested that the Court “dismiss the claims of the opt-in Plaintiffs….” Haugen, Dkt. 109 at




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p. 22. On August 5, 2021, Judge Bucklo granted Mariano’s motion and decertified the putative

collective action. Haugen, Dkt. 125.

       Twenty-five (25) days later, Mr. Cunningham (along with his dismissed co-plaintiffs)

moved for clarification regarding whether he had been granted leave to file an individual action

against Mariano’s. Haugen, Dkt. 126 at p. 4. Judge Bucklo clarified that the “August 5, 2021

order dismissed the opt-in plaintiffs without prejudice” and ordered that they “may re-file their

claims dismissed by this court on an individual basis on or before October 4, 2021 (60 days

following the court’s August 5, 2021 order).” Haugen, Dkt. 131.

       By ordering Mr. Cunningham to refile his claims by October 4, 2021, it necessarily follows

that Judge Bucklo ordered that Plaintiff could not refile those claims after October 4, 2021. Stated

differently, the “without-prejudice” dismissal of Mr. Cunningham was to ripen into a “with-

prejudice” dismissal on October 5, 2021, unless Mr. Cunningham refiled his claims before then.

       It made sense for Judge Bucklo to impose this condition on refiling. By October 2021, the

Haugen plaintiffs had been litigating against Mariano’s for 35 months – just short of three years –

and at a steep cost to Mariano’s. To determine whether the case should proceed as a collective

action, the parties took extensive discovery that included document requests, interrogatories, and

at least twelve (12) depositions. By the time the dust settled, the certification proceedings in

Haugen had become more burdensome than most entire lawsuits. And through that process, the

Haugen plaintiffs – far more so than normal plaintiffs – became intricately well-versed in the

details of the parties’ claims and defenses. So, when Judge Bucklo granted Mariano’s motion to

decertify in August 2021, there was simply no impediment to Mr. Cunningham (or any of the other

opt-in plaintiffs) immediately refiling his claims against Mariano’s in an individual action, and

there was no reason to impose any further delay upon Mariano’s.




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       Nevertheless, Mr. Cunningham chose not to refile his action by October 4, 2021, as Judge

Bucklo had required. Nor did he move for an extension of time. Instead, on October 8, 2021, Mr.

Cunningham refiled the same claims he had asserted in Haugen under a new action, captioned

Cunningham v. Roundy’s, Case No. 1:21-cv-05368. Mr. Cunningham did so without even

acknowledging the late filing, much less providing any excuse for it.

       By the time Mr. Cunningham had re-filed his claims here on October 8, 2021, the “without-

prejudice” dismissal of those claims had already ripened into a “with-prejudice” dismissal. Mr.

Cunningham was, therefore, procedurally barred from refiling his claims. “Typically when a court

dismisses a case without prejudice subject to the condition that a plaintiff must perform a certain

action, such as filing an amended complaint, within a specified time, then upon the plaintiff’s

failure to perform that action the dismissal ripens into a dismissal with prejudice.” Johnson v.

Schoen, No. 10-CV-0113, 2011 WL 245569, at *1 (S.D. Ill. Jan. 26, 2011) (emphasis added).

Indeed, as the Seventh Circuit has explained, where a court imposes a condition on a without-

prejudice dismissal, “[w]hen the condition is no longer satisfiable, the dismissal becomes one with

prejudice….” Otis v. City of Chicago, 29 F.3d 1159, 1164 (7th Cir. 1994).3

       The Seventh Circuit reiterated this rule in McDonald v. Household Int’l, Inc., 425 F.3d 424

(7th Cir. 2005). There, the district court had dismissed a complaint with the condition—similar to

Judge Bucklo’s condition here—that plaintiffs “may refile their Complaint requesting appropriate

relief … within 30 days of the date of this Entry.” McDonald v. Household Int’l, Inc., No. 1:03-



3
 In so ruling, the Seventh Circuit also expressly overruled Hatch v. Lane, 854 F.2d 981, 982 (7th
Cir. 1988), which previously held that a dismissal order granting leave to file an amended
complaint by a date certain did not become a final decision when time expired. Otis, 29 F.3d at
1168; see also Njos v. Metlife Ins., 2020 WL 1812382 at *3 (N.D. Ill. Apr. 8, 2020) (trial court
may, but is not required to, provide warning that failure to meet a deadline will result in dismissal
with prejudice).



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CV-01698RLY-TAB, 2004 WL 2363797, at *6 (S.D. Ind. Aug. 3, 2004). The Seventh Circuit

held that when the plaintiff failed to file an amended complaint within the allotted time, the

dismissal became “one with prejudice.” McDonald, 425 F.3d at 427.

       In this case, once the October 4th date had passed, Mr. Cunningham could no longer satisfy

the condition of refiling his action by that deadline. Accordingly, on October 5, 2021, the

“without-prejudice” dismissal of his action “bec[ame] one with prejudice.” Otis, 29 F.3d at 1164.

By the time Mr. Cunningham refiled his claims in this new action on October 8, 2021, he was

already barred from asserting those claims ever again.

       The claims Mr. Cunningham presents here are the identical claims that were dismissed with

prejudice in Haugen. Because Mr. Cunningham’s claims were dismissed with prejudice, he is

barred from asserting them against Mariano’s here. “[A] suit that has been dismissed with

prejudice cannot be refiled; the refiling is blocked by the doctrine of res judicata.” Elmore v.

Henderson, 227 F.3d 1009, 1011 (7th Cir. 2000); see also Semtek Int’l Inc. v. Lockheed Martin

Corp., 531 U.S. 497, 506 (2001) (holding that that when a federal court dismisses claims with

prejudice, that “bar[s] refiling of the same claim” in federal court). Accordingly, the Court should

dismiss Plaintiff’s action, with prejudice (again), under Rule 12(b)(6).

           B. EVEN IF PLAINTIFF’S ACTION HAD NOT BEEN DISMISSED “WITH PREJUDICE,”
              ALL TOLLING WAS WIPED AWAY, AND A PORTION OF PLAINTIFF’S CLAIMS
              WOULD BE TIME-BARRED

       A dismissal without prejudice, such as Judge Bucklo’s dismissal of Mr. Cunningham in

Haugen, retroactively wipes away any tolling that occurred during the course of the dismissed

action, and the lawsuit is treated for statute of limitations purposes as if it had never been filed:

               When a federal civil action is dismissed without prejudice, the
               statute of limitations runs continuously. It is not reset by the filing
               and dismissal as it is in some states (including Illinois), which allow
               litigants a period to re-file after a dismissal. In federal practice, by


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               contrast, when a suit is dismissed, “the tolling effect of the filing
               of the suit is wiped out and the statute of limitations is deemed
               to have continued running from whenever the cause of action
               accrued, without interruption by that filing. In other words, a suit
               dismissed without prejudice is treated for statute of limitations
               purposes as if it had never been filed.”

Lee v. Cook Cnty., Ill., 635 F.3d 969, 971–72 (7th Cir. 2011) (emphasis added, quoting Elmore,

227 F.3d at 1011).4 Presuming, arguendo, that Judge Bucklo’s order would have prevented the

wiping away of tolling if Mr. Cunningham had complied with the Court’s October 4th deadline,

the inescapable fact remains: Mr. Cunningham did not refile his action until October 8, 2021. By

that date, all tolling was unquestionably wiped away for good.

       Without tolling, a portion of Mr. Cunningham’s claims are time-barred. Under the FLSA,

a plaintiff must commence his action within two years of when the claim accrued, or, for willful

violations of the statute, within three years of when the claim accrued. 29 U.S.C. § 255(a).5 FLSA

claims commence “on the date when the complaint is filed.” 29 U.S.C. § 256. Here, Mr.

Cunningham filed his Complaint on October 8, 2021. (Dkt. 1). Accordingly, any claims that

accrued prior to October 8, 2018, are time-barred.

       FLSA claims accrue when there is a breach of duty by the employer. Sylvester v. Wintrust

Fin. Corp., 2014 WL 10416989, at *3 n.7 (N.D. Ill. Sept. 26, 2014). This means that overtime




4
  But see Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014 (7th Cir. 2013) (finding Lee and Elmore
inapplicable where trial court sua sponte dismissed initial pro se complaint without prejudice, and
plaintiff timely filed amended complaints – in the same action – which related back to initial,
timely-filed pro se complaint).
5
 More specifically, the FLSA provides that any action to enforce any claim for unpaid overtime
“may be commenced within two years after the cause of action accrued, and every such action
shall be forever barred unless commenced within two years after the cause of action accrued,
except that a cause of action arising out of a willful violation may be commenced within three
years after the cause of action accrued.” 29 U.S.C. § 255.


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claims accrue at the end of each pay period when the earned overtime for that pay period allegedly

goes unpaid (i.e., on payday). Id. Similarly, IMWL claims must be filed “within 3 years from the

date of the underpayment.” 820 ILCS 105/12(a). Thus, any claim by Plaintiff for unpaid overtime

prior to October 8, 2018, is time-barred.

         Here, Plaintiff alleges that he worked for Mariano’s from August 2015, to August 2019.

(Dkt. 36 at ¶ 7). While Mariano’s cannot establish, on a Rule 12(b)(6) motion, that all of Plaintiff’s

overtime claims are time-barred, it is clear from the face of the Amended Complaint that any

claims corresponding to pay periods before October 8, 2018, are time-barred. Accordingly, the

Court, under Rule 12(b)(6), should dismiss with prejudice any unpaid overtime claims for pay

periods before October 8, 2018.

                                            V. CONCLUSION

         For all of the reasons set forth above, Mariano’s respectfully requests that the Court dismiss

Plaintiff’s action, with prejudice, under Rule 12(b)(6).



Dated:    September 16, 2022                        Respectfully submitted,

                                                    ROUNDY’S ILLINOIS, LLC d/b/a
                                                    MARIANO’S, Defendant

                                                    By: /s/ Christopher S. Griesmeyer
                                                          One of Its Attorneys



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court via the CM/ECF System which will send notification of such

filing to those registered to receive electronic notices via email transmission at the email addresses

provided by them, including counsel of record for plaintiffs:


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